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     Lesley E. Weaver (SBN 191305)
 1
     Matthew S. Weiler (SBN 236052)
 2   BLEICHMAR FONTI & AULD LLP
     555 12th Street, Suite 1600
 3   Oakland, CA 94607
     Tel.: (415) 445-4003
 4
     Fax: (415) 445-4020
 5   lweaver@bfalaw.com
     mweiler@bfalaw.com
 6
     Daniel E. Gustafson (Pro Hac Vice forthcoming)
 7   Daniel C. Hedlund (Pro Hac Vice forthcoming)
 8   Joseph C. Bourne (SBN 308196)
     GUSTAFSON GLUEK PLLC
 9   120 South Sixth Street, Suite 2600
     Minneapolis, MN 55402
10
     Tel: (612) 333-8844
11   Fax: (612) 339-6622
     Email: dgustafson@gustafsongluek.com
12           dhedlund@gustafsongluek.com
             jbourne@gustafsongluek.com
13
14   Attorneys for Plaintiff and the Proposed Class
     Additional Attorneys Listed on Signature Page
15
16                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
17
      SCOTT SCHINDER, on behalf of himself and        Case No.
18    all others similarly situated,
19
             Plaintiff,                               CLASS ACTION COMPLAINT
20
             v.
21
      FACEBOOK INC., a Delaware corporation;          DEMAND FOR JURY TRIAL
22
      CAMBRIDGE ANALYTICA LLC, a
23    Delaware limited liability company; and DOES
      1-100,
24
25           Defendants.

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27
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            Plaintiff, individually and as the representatives of a class of similarly situated persons,
 1
 2   by his undersigned counsel, allege as follows:

 3
                                        NATURE OF THE CASE
 4
            1.      This class action concerns a grievous and unprecedented breach of trust and
 5
     invasion of privacy by which Facebook Inc. (“Facebook”) allowed Cambridge Analytica, LLC
 6
     (“Cambridge Analytica”) and other unknown third party defendants access to, and the potential
 7
     unlimited use of, vast amounts of sensitive personal information, including names, birthdates,
 8
     locations, photos, videos, and likes (“Personal Information”) 1 from Facebook users without their
 9
     consent.
10
            2.      Facebook operates a social networking platform where its users provide their
11
     Personal Information to Facebook under the belief and agreement that Facebook will safeguard
12
     that information, and that Facebook will share the information only with the persons, entities,
13
     and groups with whom the user consents. Instead of safeguarding this sensitive Personal
14
     Information, Facebook provided it to third party application (“app”) developers without user
15
     consent. Once the user data was in the possession of the third party app developers, Facebook
16
     exercised no control over how the app developer used the data.
17
            3.      Cambridge Analytica, through the use of one such third party app developer,
18
     obtained Personal Information from more than 87 million Facebook users which it thereafter
19
     used to create targeted political advertising and messaging in various United States elections.
20
     Moreover, this intentional massive data exfiltration is not an isolated incident but simply a high-
21
     profile exemplar.
22
23
     1
      Facebook’s Personal Information list is included in full at ¶ 28, and includes: About me,
24   Actions, Activities, Birthday, Check-ins, Education history, Events, Games activity, Groups,
     Hometown, Interests, Likes, Location, Notes, Online presence, Photo and video tags, Photos,
25   Questions, Relationship details, Relationships, Religion, Politics, Status, Subscriptions, Website,
     and Work history. See https://developers.facebook.com/docs/graph-api/changelog/archive; see
26   also, Iraklis Symeonidis, et al., “Collateral damage of Facebook Apps”,
     https://eprint.iacr.org/2015/456.pdf.
27
     CLASS ACTION COMPLAINT                                                                     2
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 1          4.      While the Cambridge Analytica incident has made the headlines only in recent
 2   months, Facebook has been aware of third party access, aggregation, distribution, and use of its
 3   users’ sensitive Personal Information since at least 2010.
 4          5.      In 2011 the FTC finalized a formal complaint, alleging that Facebook’s policies
 5   and practices threatened user privacy. Specifically, the complaint stated that Facebook’s policies
 6   regarding third party developers were misleading and deceptive. 2 Facebook entered into a
 7   settlement with the FTC where Facebook is: 1) barred from making misrepresentations about the
 8   privacy or security of consumers' personal information; and 2) required to obtain consumers'
 9   affirmative express consent before enacting changes that override their privacy preferences. 3 In
10   response to this settlement, Mark Zuckerberg, founder and Chief Executive Officer of Facebook,
11   made the following statement:
12
            [T]his means we're making a clear and formal long-term commitment to do the things
13
            we've always tried to do and planned to keep doing -- giving you tools to control who can
14          see your information and then making sure only those people you intend can see it. 4

15
            6.      Facebook assures users that they own and control all the information they post on
16
     Facebook—a false and misleading statement. Facebook continues to induce its users into giving
17
     up information through its false promises of privacy while surreptitiously providing that
18
     information to third parties to generate revenue and while failing to take appropriate steps to
19
20
     2
21     https://www.ftc.gov/sites/default/files/documents/cases/2012/08/120810facebookcmpt.pdf. The
     FTC complaint outlined the Commission’s findings that Facebook made promises it did not keep
22   when: 1) Facebook represented that third party apps its users installed would only have access to
     the user information needed to operate, when in fact, the apps could access nearly all of a user’s
23   personal data - data the apps didn't need; and 2) Facebook told users they could restrict sharing
     of data to limited audiences - for example with "Friends Only," when in fact, selecting "Friends
24   Only" did not prevent their information from being shared with third party applications their
     friends used. Id.
25   3
       https://www.ftc.gov/news-events/press-releases/2011/11/facebook-settles-ftc-charges-it-
     deceived-consumers-failing-keep.
26   4
       https://www.cnbc.com/2018/03/21/facebook-ceo-mark-zuckerbergs-statements-on-privacy-
     2003-2018.html.
27
     CLASS ACTION COMPLAINT                                                                     3
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 1   safeguard Facebook users’ Personal Information from unauthorized access, aggregation,
 2   distribution, and use.
 3           7.      Only after public outcry has Facebook proposed remedial measures. Yet, these
 4   proposed measures remain feeble and hollow. None of these stopgap measures adequately
 5   remedy or prevent the improper and illegal conduct alleged. In fact, users’ data remains
 6   dangerously unprotected and open to further abuse by third party app developers and anyone to
 7   whom these third party app developers distribute the users’ data.
 8           8.      Defendants’ disregard for the protection of Plaintiff’s and class members’
 9   Personal Information has led Plaintiff to bring this suit to protect their privacy interests and those
10   of the class.
11                        JURISDICTION, VENUE, AND CHOICE OF LAW
12           9.      Pursuant to 28 U.S.C. § 1331, this Court has original subject matter jurisdiction
13   over the claims that arise under the Stored Communications Act, 18 U.S.C. §§ 2701, et. seq. This
14   Court also has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
15           10.     In addition to federal question jurisdiction, this Court also has diversity
16   jurisdiction pursuant to 28 U.S.C. § 1332(d) under the Class Action Fairness Act (“CAFA”),
17   because the amount in controversy exceeds $5,000,000, exclusive of interest and costs, and at
18   least one class member is a citizen of a state different from Defendants.
19           11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants
20   do business in and are subject to personal jurisdiction in this District. Venue is also proper
21   because a substantial part of the events or omissions giving rise to the claim occurred in, or
22   emanated from this District.
23           12.     Facebook’s Terms of Service, ¶ 15.1, provide in relevant part:
24
             You will resolve any claim, cause of action or dispute (claim) you have with us
25           arising out of or relating to this Statement or Facebook exclusively in the U.S.
             District Court for the Northern District of California or a state court located in San
26           Mateo County, and you agree to submit to the personal jurisdiction of such courts
27
     CLASS ACTION COMPLAINT                                                                        4
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            for the purpose of litigating all such claims. The laws of the State of California will
 1
            govern this Statement, as well as any claim that might arise between you and us,
 2          without regard to conflict of law provisions.5

 3
            13.     Facebook’s choice-of-law and venue provision in its contract with Plaintiff and
 4
     the class members provide an additional reason why venue is additionally proper in this District,
 5
     and establishes that California law applies to Plaintiff’s and all class members’ claims.
 6
                                                 PARTIES
 7
     Plaintiff
 8
            14.     Plaintiff Scott Schinder is a citizen of Texas and currently resides in Austin.
 9
     Plaintiff has a Facebook account which he has maintained to the present day. Plaintiff’s private
10
     information was exposed to Cambridge Analytica without his knowledge or consent.
11
     Defendants
12
            15.     Defendant Facebook, Inc. (“Facebook”), a publicly traded company, is
13
     incorporated in the State of Delaware, with its principal executive offices located at 1601 Willow
14
     Road, Menlo Park, California 94025. Facebook is an online social media and social networking
15
     service company founded in 2004. Facebook operates a social networking website that enables
16
     users to connect, share, and communicate with each other through text, photographs, and videos
17
     as well as to interact with third party apps such as games and quizzes on mobile devices and
18
     personal computers.
19
            16.     Defendant Cambridge Analytica LLC (“Cambridge Analytica”), a Delaware
20
     limited liability company, is a political consulting and “behavioral microtargeting” firm that
21
     combines data mining, data brokerage, and data analysis with strategic communication for the
22
     electoral process. It was founded in 2013 as a subsidiary of its parent company SCL Group, to
23
     participate in American politics. In 2014, Cambridge Analytica was involved in 44 U.S. political
24
25
26   5
      Terms of Service, Statement of Rights and Responsibilities, FACEBOOK,
     https://www.facebook.com/terms.php.
27
     CLASS ACTION COMPLAINT                                                                      5
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 1   races. Cambridge Analytica does business throughout the United States, including in this
 2   District. Cambridge Analytica maintains offices in London, New York, and Washington, D.C
 3          17.     Plaintiff does not know the true names of Defendants Does 1-100, inclusive, and
 4   therefore sues them by those fictitious names. Plaintiff is informed and believes, and on the basis
 5   of that information and belief alleges, that each of those defendants were proximately responsible
 6   for the events and happenings alleged in this Complaint and for Plaintiff’s injuries and damages.
 7                                     FACTUAL BACKGROUND
 8
     A.     Facebook’s Collection of Users’ Personal Information and Third Party Access
 9
            18.     Since its inception in 2004, Facebook has grown to become synonymous with
10
     interconnectedness in the age of social media. Facebook now has over two billion monthly active
11
     users, with over 200 million in the United States alone.6 With each user sharing Personal
12
     Information in order to access the website, Facebook has become one of the world’s largest
13
     repositories of personal data.7
14
            19.     While Facebook may have started as a platform designed to service social
15
     connections, Facebook’s focus has steadily shifted to data mining. Facebook’s business model is
16
     now centered around finding ways to harness and sell the ability to influence its users’ behavior.
17
            20.     In May 2007, Facebook unveiled Facebook Platform, calling on all developers to
18
     build the next-generation of applications with deep integration into Facebook, distribution across
19
     its “social graph,” and an opportunity to build new business. 8 Facebook CEO Mark Zuckerberg
20
     told the audience of 750 developers and partners: “Until now, social networks have been closed
21
     platforms. Today, we’re going to end that. With this evolution of Facebook Platform, any
22
     6
23     https://www.statista.com/statistics/398136/us-facebook-user-age-groups/;
     https://newsroom.fb.com/company-info/.
24   7
       https://www.statista.com/statistics/398136/us-facebook-user-age-groups/;
     https://newsroom.fb.com/company-info/.
25   8
       https://newsroom.fb.com/news/2007/05/facebook-unveils-platform-for-developers-of-social-
     applications/. This unveiling took place at Facebook’s first almost annual F8 conference,
26   intended for developers and entrepreneurs who build products and services around the Facebook
     website.
27
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 1   developer worldwide can build full social applications on top of the social graph, inside of
 2   Facebook.” Zuckerberg continued, “This is good for us because if developers build great
 3   applications then they’re providing a service to our users and strengthening the social graph, […]
 4   This is a big opportunity. We provide the integration and distribution and developers provide the
 5   applications. We help users share more information and together we benefit.” 9
 6             21.   As a purported social media leader, Facebook knows the critical importance of
 7   protecting users’ Personal Information from unauthorized access. Facebook also knows the
 8   multitude of harms that foreseeably flow to individual users when information is stolen or
 9   misused by criminals.
10             22.   To its users, Facebook promotes and provides assurances of privacy and the
11   ability for users to control what information is transmitted to third parties. Facebook has
12   explicitly told its users that their Personal Information would not be sold, transferred, or
13   otherwise shared to any advertisement network, data broker, or other advertising or
14   monetization-related third party without their expressed consent.
15             23.   Indeed, Facebook’s “Data Use Policy” emphasizes “trust” and states that “we
16   don’t share information we receive about you with others unless we have … received your
17   permission [and] given you notice.”
18             24.   The opening line of Facebook’s Statement of Rights and Responsibility is
19   unambiguous in its recognition that Facebook users “own” their Personal Information and that
20   users may rely on Facebook to protect that information from unwarranted disclosure:
21
                     1. Privacy
22                   Your privacy is very important to us. We designed our Data Policy to make
                     important disclosures about how you can use Facebook to share with others and
23                   how we collect and can use your content and information. We encourage you to
                     read the Data Policy, and to use it to help you make informed decisions.
24
25                   2. Sharing Your Content and Information

26   9
         Id.
27
     CLASS ACTION COMPLAINT                                                                         7
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                     You own all of the content and information you post on Facebook, and you can
 1
                     control how it is shared through your privacy and application settings. 10
 2
 3           25.     Facebook’s CEO Mark Zuckerberg has also publicly acknowledged the

 4   importance of privacy on its platform—stating that people engage and share on Facebook

 5   because “they know their privacy is going to be protected.” 11

 6           26.     A vital feature of Facebook is the appearance of control users have over their

 7   sensitive Personal Information. Facebook’s privacy settings purport to offer users degrees of

 8   control over the dissemination of their Personal Information. Specifically, Facebook gives users

 9   the option to share, privately with only certain individuals, with all of their Facebook friends,

10   with friends of friends, or with all Facebook users. 12 Users reasonably expect their Personal

11   Information will be accessible only to the extent they authorize such access.

12           27.     In 2010, Facebook released its Graph API (application programming interface),

13   which is a developer, or app-level, interface touted as a revolution in large-scale data provision.

14   The Graph API is the primary way to get data into and out of the Facebook platform. Graph API

15   v.1.0, in effect from April 2010 to April 2015, converted Facebook users’ Personal Information

16   into quite literally “objects.”13

17           28.     Facebook’s Graph API v.1.0 allowed third party app developers to access and

18   store on third party servers, the following user data (“Personal Information”): 14

19
20
21   10
        Terms of Service, Statement of Rights and Responsibilities, FACEBOOK,
22   https://www.facebook.com/terms.php.
     11
        Catherine Clifford, Mark Zuckerberg 9 months ago: People share on Facebook because ‘they
23   know their privacy is going to be protected’, CNBC (April 3, 2018),
     https://www.cnbc.com/2018/04/03/zuckerberg-on-facebook-and-privacy-before-cambridge-
24   analytica-scandal.html.
     12
        Basic Privacy Settings & Tools: Selecting an Audience for Stuff You Share, Facebook,
25   https://www.facebook.com/help/325807937506242/ (last visited Apr. 30, 2018).
     13
        https://medium.com/tow-center/the-graph-api-key-points-in-the-facebook-and-cambridge-
26   analytica-debacle-b69fe692d747.
     14
        Supra, fn. 1.
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11
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15
16
17          29.     Facebook’s Graph API v.1.0 allowed third party app developers to access and
18   collect Personal Information from users through the friends data scrape feature, including photos
19   and videos, without users’ consent, and even where a user’s profile was set to private.
20          30.     According to former Facebook platform operations manager, Sandy Parakilas,
21   “tens or maybe even hundreds of thousands of developers” may have sought friends permission
22   data before such access was terminated in 2015. 15 Parakilas explained how outside app
23   developers have been able to access Facebook users' private information:
24
25
26   15
       https://www.theguardian.com/news/2018/mar/20/facebook-data-cambridge-analytica-sandy-
     parakilas.
27
     CLASS ACTION COMPLAINT                                                            9
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            It's important to remember that apps on Facebook, when you use them, they ask you for
 1
            permission to access specific kinds of data, whether it's your name or your e-mail address
 2          or your friends list or photos or other information. And once you click “Allow” or tap
            “Allow,” all that information passes from Facebook to the application developer. And the
 3          problem is that, once the data goes to the developer, there is no insight into what the
            developer is doing with the data, and there is no control by Facebook as to what they do.
 4
            This has been a known problem since 2010. 16
 5
 6          31.     As information is shared by these billions of unique users, Facebook is provided

 7   with sophisticated, exceedingly detailed data profiles. Facebook, through Graph API, permitted

 8   developers to tap into this abundance of Personal Information without any meaningful oversight

 9   and without Facebook users’ consent.

10          32.     Facebook was aware of its lax approach to data protection because the majority of

11   problems that have now come to the surface were meant to be features, not bugs. Facebook’s

12   business model rests on collecting these highly personal and highly revealing data points and

13   selling to third party app developers, without vetting or following up, the ability to use this data

14   about individuals to target ads to them.

15          33.     Facebook permitted third party app developers to improperly and illicitly harvest

16   user data, purposely turning a blind eye while it continued to tout “trust,” “privacy,” and other

17   pseudo-uplifting marketing speak to its Facebook users. 17

18          34.     A former Facebook platform operations manager had warned Facebook

19   executives of this major risk of misuse of user data as early as 2011 but was discouraged from

20   auditing third party developers’ use of Facebook users’ data. Regarding the recent headlines that

21   Cambridge Analytica had illegally scraped Plaintiff’s and class members’ data to improperly

22
23
24   16
        https://www.cbsnews.com/news/sandy-parakilas-former-facebook-manager-warned-company-
     privacy-risks-in-2012/.
25   17
        Oliva Solon, ‘A grand illusion’: seven days that shattered Facebook’s facade, THE GUARDIAN
     (March 24, 2018), https://www.theguardian.com/technology/2018/mar/24/cambridge-analytica-
26   week-that-shattered-facebook-privacy.
27
     CLASS ACTION COMPLAINT                                                                     10
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 1   influence and otherwise disrupt the outcome of the 2016 Presidential election that former
 2   manager stated: “It’s been painful watching . . . because I know they could have prevented it.” 18
 3
          B. Cambridge Analytica’s Harvesting of Facebook Users’ Personal Information
 4
 5           35.    In 2013, Alexander Nix was the leader of the special elections division of the
 6   Strategic Communication Laboratories Group (“SCL Group”), a London-based public relations
 7   firm that describes its expertise as “psychological warfare” and “influence operations.” 19 The
 8   same year, Mr. Nix met with Steven Bannon (former executive chairman of the “alt-right” news
 9   network Breitbart and former Trump advisor). They joined forces with Robert Mercer (U.S.
10   hedge fund billionaire and Republican donor) in a scheme to use personality profiling to
11   influence voting behavior.
12           36.    With Mr. Mercer’s $15 million investment, Cambridge Analytica was born and
13   their efforts to “bring big data and social media to an established military methodology—
14   ‘information operations’—then turn it on the U.S. electorate” soon began. 20
15           37.    Christopher Wylie, former employee of Cambridge Analytica, was a data expert
16   who oversaw the misconduct complained of herein.
17           38.    In 2014, Cambridge Analytica set out to acquire the behavioral data of American
18   citizens. Mr. Wylie found that Cambridge University Psychometrics Center researchers had
19   developed a technique to map personality traits based on Facebook users’ profiles. The approach,
20
     18
21      Paul Lewis, ‘Utterly horrifying’: ex-Facebook insider says covert data harvesting was
     routine, THE GUARDIAN (March 20, 2018),
22   https://www.theguardian.com/news/2018/mar/20/facebook-data-cambridge-analytica-sandy-
     parakilas.
23   19
        See, e.g., Sharon Weinberger, You Can’t Handle the Truth, SLATE (Sept. 19, 2005),
     http://www.slate.com/articles/news_and_politics/dispatches/2005/09/you_cant_handle_the_truth.
24   html.
     20
        Carole Cadwalladr, The Cambridge Analytica Files ‘I made Steve Bannon’s psychological
25   warfare tool’: meet the data war whistleblower, THE GUARDIAN (March 18, 2018),
     https://www.theguardian.com/news/2018/mar/17/data-war-whistleblower-christopher-wylie-
26   faceook-nix-bannon-trump (last visited April 5, 2018).
27
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 1   the Psychometrics Center researchers said, could reveal more about a person than their parents or
 2   romantic partners knew.
 3           39.     To its credit, Cambridge University Psychometrics Center declined to work with
 4   Cambridge Analytica.
 5           40.     Mr. Wylie then solicited Dr. Aleksandr Kogan, then a psychology professor at
 6   Cambridge University. Kogan agreed to work with Cambridge Analytica; to harvest Facebook
 7   data “so that it could be matched to personality traits and voter rolls.” 21
 8           41.     By June 2014, Cambridge Analytica had paid over $800,000 for Dr. Kogan to
 9   begin surreptitiously harvesting Facebook user’s Personal Information and transmit it to them.
10           42.     Dr. Kogan created a U.K. company called Global Science Research, Ltd. (“GSR”)
11   and through GSR, created a Facebook app called “ThisIsYourDigitalLife” 22 (“YDL app”). The
12   YDL app consisted of a personality quiz hosted on Qualtric (an online survey platform) that
13   required Facebook login credentials to complete.
14           43.     Posing as an academic researcher, Cambridge Analytica and Dr. Kogan utilized
15   Amazon’s Mechanical Turk (“MTurk”) program to recruit participants to complete the
16   personality quiz. Participants were offered $0.50-$2.00 to complete the quiz.
17           44.     When participants responded to Kogan’s request and expressed interest in
18   completing the personality quiz, Kogan sent them a link to his Facebook application. Participants
19   then completed the personality quiz, but to receive payment they were told that they needed to
20   allow the quiz app access to their Facebook data for academic purposes. “And not just theirs, but
21   their friends’ too. On average, each ‘seeder’—the people who had taken the personality test,
22   around 320,000 in total—unwittingly gave access to at least 160 other people’s profiles, none of
23   whom would have known or had reason to suspect. What the email correspondence between
24   Cambridge Analytica employees and Kogan shows is that Kogan had collected millions of
25   21
       Id.
     22
       Different sources have called the app “thisismydigitallife” or have spelled the YDL app with
26   different spacing variations but for all intents and purposes, Plaintiff is referring to the same app.
27
     CLASS ACTION COMPLAINT                                                                      12
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                                       23
 1   profiles in a matter of weeks.”        But no one “at Cambridge Analytica had checked that it was
 2   legal.”24
 3           45.    At no time did Cambridge Analytica, Dr. Kogan, or GSR inform participants that
 4   their Personal Information was going to be used for non-academic purposes, including the
 5   intended improper use for electoral targeting.
 6           46.    At no time did Cambridge Analytica, Dr. Kogan, or GSR obtain permission from
 7   its YDL app users’ Facebook friends to harvest their personal data.
 8           47.    Cambridge Analytica failed to inform or obtain permission because it knew it was
 9   not performing academic research; answers to the YDL app’s personality quiz were not
10   important. Instead, what it wanted and what it ultimately received, was access to the Personal
11   Information of each YDL app user and all of that user’s Facebook friends’ Personal Information.
12   While the exact information that GSR provided to Cambridge Analytica is unknown, GSR had
13   access to all Personal Information available through Graph API v.1.0 including the names, video,
14   images, and photos of millions of Facebook users. 25
15           48.    The YDL app was so successful that from approximately 320,000 “seeders” who
16   unwittingly completed the quiz, Defendant gained access to not only their Personal Information
17   but also to over 87 million Facebook users’ Personal Information.
18           49.    The whistleblower, Mr. Wylie, confirms that there are receipts, invoices, emails,
19   legal letters—records that showed how, between June and August 2014, Cambridge Analytica
20   harvested the profiles of tens of millions of Facebook users.
21
     23
22      Carole Cadwalladr, The Cambridge Analytica Files ‘I made Steve Bannon’s psychological
     warfare tool’: meet the data war whistleblower, THE GUARDIAN (March 18, 2018),
23   https://www.theguardian.com/news/2018/mar/17/data-war-whistleblower-christopher-wylie-
     faceook-nix-bannon-trump (last visited April 5, 2018).
24   24
        Carole Cadwalladr, The Cambridge Analytica Files ‘I made Steve Bannon’s psychological
     warfare tool’: meet the data war whistleblower, THE GUARDIAN (March 18, 2018),
25   https://www.theguardian.com/news/2018/mar/17/data-war-whistleblower-christopher-wylie-
     faceook-nix-bannon-trump (last visited April 5, 2018).
26   25
        https://medium.com/tow-center/the-graph-api-key-points-in-the-facebook-and-cambridge-
     analytica-debacle-b69fe692d747.
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     CLASS ACTION COMPLAINT                                                             13
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 1           50.    The YDL app was used by Cambridge Analytica to create “psychographic”
 2   profiles which were then used to make predictions about people’s behaviors and to create
 3   predictions about what people will do and what motivates them. This allowed Cambridge
 4   Analytica to design targeted political ads—using stolen Personal Information to play to
 5   unsuspecting users’ preferences in efforts to influence their political views and choices.
 6        C. Facebook Learns of YDL App’s Data Collection and Fails to Act
 7           51.    Mr. Wylie confirms that Facebook should have known that the YDL app was
 8   collecting users’ information at the time as its security protocols would have been triggered due
 9   to the enormous amount of data that the YDL app was pulling from Facebook’s Graph API.
10           52.     By the end of 2015, Facebook was notified that the data extracted by the YDL
11   app had been transmitted to Cambridge Analytica. Instead of notifying its users, Facebook sat on
12   this information for months taking no action. When Facebook finally took steps in mid-2016,
13   Facebook’s remedial action was limited.
14           53.    Mr. Wylie, who responded to Facebook’s request to delete the illicitly obtained
15   data, was astonished by Facebook’s lackluster response. Facebook made zero effort to get the
16   data back and did nothing to confirm that the data was even deleted.
17           54.    In the weeks leading up the 2016 presidential election, Mark Zuckerberg’s trusted
18   mentor and longtime investor, Roger McNamee, sounded the alarm about platform manipulation.
19   Facebook executives brushed his concerns aside. 26
20           55.    To date, all data improperly obtained by Cambridge Analytica still has not been
21   deleted.
22           56.    This mass data collection was not only permitted, but also incentivized by
23   Facebook, which sought to encourage developers to build on its platform, which upon
24   information and belief, financially benefitted Facebook.
25
     26
       Lila MacLellan, Maybe Mark Zuckerberg shouldn’t have blown off his mentor, QUARTZ AT
26   WORK (March 20, 2018), https://work.qz.com/1233606/maybe-facebook-ceo-mark-zuckerberg-
     shouldnt-have-blown-off-his-mentor-roger-mcnamee/.
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     CLASS ACTION COMPLAINT                                                           14
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 1        D. Defendants’ Wrongdoing Finally Exposed
 2           57.    Facebook’s inadequate data security practices and systematic failure to enforce its
 3   own ineffective data security policies were exploited for financial and political gain by
 4   Cambridge Analytica and Doe Defendants.
 5           58.    On March 17, 2018, Defendants’ actions were finally made public.
 6           59.    The Guardian published an article, based on information obtained from Mr.
 7   Wylie, which detailed Cambridge’s mining of over 87,000,000 Facebook users’ Personal
 8   Information and its employment of that data to target individuals with its psychological
 9   operations to influence their views during the 2016 presidential election. 27
10           60.    After Defendants’ wrongdoing was exposed, Facebook finally suspended
11   Cambridge Analytica’s and its affiliates’ access to Facebook’s platform.
12           61.    Only in the aftermath of this news, Facebook has been attempting to salvage its
13   brand and rebuild consumer trust by revamping its privacy policies.
14           62.    Facebook’s CEO Mark Zuckerberg publicly refused to appear before Parliament
15   to answer questions regarding YDL. On the afternoon of April 4, 2018, after rebuffing
16   Parliament, Facebook published a new data policy on its website. The new data policy is
17   inadequate and so vague as that it continues to allow improper access to user data.
18           63.    Facebook’s stopgap measures fail to provide an adequate remedy or prevent
19   further improper and illegal conduct. Personal Information already compromised remains
20   dangerously vulnerable and open to further abuse. None of Facebook’s measures constitute
21   adequate notice to affected consumers. Further, Facebook has a history of failing to enforce its
22   own data security policies.
23        E. Plaintiff’s Experience
24           64.    Plaintiff Scott Schinder was notified on April 10, 2018 through Facebook’s Help
25   Center that one of his friends had logged into the YDL app. Facebook’s website informed Mr.
26
     27
      Id.
27
     CLASS ACTION COMPLAINT                                                                      15
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 1   Schinder that information such as his public profile, Page likes, birthday, and current city was
 2   also likely shared with the YDL app and thus Cambridge Analytica. Facebook also informed Mr.
 3   Schinder that a small number of people who logged into the YDL app also shared their own
 4   News Feed, timeline, posts, and messages which may have included posts and messages from
 5   Mr. Schinder. Further, Mr. Schinder’s hometown may have been shared with Cambridge
 6   Analytica.
 7          65.     Plaintiff and class members had their Personal Information harvested from their
 8   Facebook profiles by Cambridge Analytica through use of the YDL app, either directly as a user
 9   of the app, or indirectly as a Facebook friend of a user of the app.
10          66.     Plaintiff and class members did not consent for the YDL app to have access to
11   their Personal Information or else only consented for their information to be accessed for
12   academic purposes.
13          67.     Plaintiff and class members were harmed by Cambridge Analytica unlawfully
14   obtaining their Personal Information, using such to psychologically profile them, and Cambridge
15   Analytica directing its psychological operations at them in an effort to influence their views
16   about, among other things, the 2016 Presidential Election.
17          68.     Plaintiff and class members have been injured in a number of ways, including: (i)
18   they have lost control over their Personal Information and how it is used, as promised by
19   Facebook; (ii) the value of their Personal Information, for which there is a well-established
20   market, has diminished because it is no longer private; (iii) their Personal Information has been
21   misused and is vulnerable to continued misuse; and (iv) they will have to spend time and money
22   securing their Personal Information, protecting their identities, monitoring their accounts and
23   credit and/or paying for further identity theft protection services in the wake of Cambridge
24   Analytica’s harvesting of Personal Information, to make sure their identities were not stolen and
25   mitigating misuse of their Personal Information.
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     CLASS ACTION COMPLAINT                                                                   16
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 1                                    CLASS ACTION ALLEGATIONS
 2          69.     Plaintiff incorporates by reference all allegations of the preceding paragraphs as
 3   though fully set forth herein.
 4          70.     Plaintiff brings this action on behalf of himself and all others similarly situated
 5   pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure.
 6          71.     Plaintiff seeks to represent the following Classes:
 7                                          Nationwide Class
            All persons who registered for Facebook in the United States and whose Personal
 8
            Information was obtained by third parties through Facebook’s Graph API’s
 9          “extended permissions” functionality.

10                                          Texas Sub-Class
            All persons who registered for Facebook in Texas and whose Personal
11          Information was obtained by third parties through Facebook’s Graph API’s
            “extended permissions” functionality.
12
13          72.     Excluded from the Class are Defendants, their current employees, coconspirators,
14   officers, directors, legal representatives, heirs, successors and wholly or partly owned
15   subsidiaries or affiliated companies; the undersigned counsel for Plaintiff and their employees;
16   and the judge and court staff to whom this case is assigned. Plaintiff reserves the right to amend
17   the definition of the Class if discovery or further investigation reveals that the Class should be
18   expanded or otherwise modified.
19          73.     Numerosity and Ascertainability: Plaintiff does not know the exact size of the
20   Class or the identities of the Class Members since such information is the exclusive control of
21   Defendants. Plaintiff believes that the Class encompasses approximately over 87,000,000
22   individuals who are geographically dispersed throughout the United States. The number of
23   members in the Class are so numerous that joinder of all Class Members is impracticable. The
24   names, addresses, and phone numbers of class members are identifiable through documents
25   maintained by Defendants.
26
27
     CLASS ACTION COMPLAINT                                                                     17
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 1          74.    Commonality and Predominance: The action involves common questions of
 2   law and fact, which predominate over any question solely affecting individual Class Members,
 3   including:
 4                 a. Whether Facebook gave Plaintiff and class members effective notice of its
 5                     program to collect their Personal Information;
 6                 b. Whether Defendants obtained consent from Plaintiff and class members to
 7                     collect their Personal Information;
 8                 c. Whether Defendants improperly collected Plaintiff’s and class members’
 9                     Personal Information;
10                 d. Whether Facebook represented that Plaintiff’s and class members’ Personal
11                     Information would be protected from disclosure absent their consent;
12                 e. Whether Facebook owes any duty to Plaintiff and class members with respect
13                     to maintaining, securing, or deleting their Personal Information;
14                 f. To what degree Facebook has the right to use Personal Information pertaining
15                     to Plaintiff and class members;
16                 g. Whether Facebook owed a legal duty to Plaintiff and the Class to exercise due
17                     care in collecting, storing, safeguarding, and/or obtaining their Personal
18                     Information;
19                 h. Whether Facebook breached a legal duty to Plaintiff and the Class to exercise
20                     due care in collecting, storing, safeguarding, and/or obtaining their Personal
21                     Information;
22                 i. Whether the egregious breach of privacy and trust alleged in the Complaint
23                     was foreseeable by Facebook;
24                 j. Whether Facebook intentionally exposed Plaintiff’s and class members’
25                     Personal Information to Cambridge Analytica;
26                 k. Whether Defendants violated the Stored Communications Act;
27
     CLASS ACTION COMPLAINT                                                                   18
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 1                  l. Whether Defendants violated Plaintiff’s and class members’ privacy rights;
 2                  m. Whether Facebook’s conduct was an unlawful or unfair business practice
 3                      under Cal. Bus. & Prof. Code § 17200, et seq.;
 4                  n. Whether Plaintiff and the Class are entitled to equitable relief, including, but
 5                      not limited to, injunctive relief and restitution/disgorgement; and
 6                  o. Whether Plaintiff and the Class are entitled to actual, statutory, or other forms
 7                      of damages, and other monetary relief.
 8          75.     Defendants engaged in a common course of conduct giving rise to the legal rights
 9   sought to be enforced by this action and similar or identical questions of statutory and common
10   law, as well as similar or identical injuries, are involved. Individual questions, if any, pale in
11   comparison to the numerous common questions that predominate this action.
12          76.     Typicality: Plaintiff’s claims are typical of the other class members’ claims
13   because all class members were comparably injured through Defendants’ substantially uniform
14   misconduct as described above. Plaintiff is advancing the same claims and legal theories on
15   behalf of himself and all other class members, and there are no defenses that are unique to
16   Plaintiff. The claims of Plaintiff and class members arise from the same operative facts and are
17   based on the same legal theories.
18          77.     Adequacy: Plaintiff is an adequate Class representative because his interests does
19   not conflict with the interests of the other members of the Classes he seeks to represent; Plaintiff
20   has retained counsel competent and experienced in complex class action litigation, and Plaintiff
21   intends to prosecute this action vigorously. The Classes’ interest will be fairly and adequately
22   protected by Plaintiff and his counsel.
23          78.     Superiority: A class action is superior to any other available means for the fair
24   and efficient adjudication of this controversy, and no unusual difficulties are likely to be
25   encountered in the management of this class action. The damages or other financial detriment
26   suffered by Plaintiff and the other class members are relatively small compared to the burden and
27
     CLASS ACTION COMPLAINT                                                                      19
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 1   expense that would be required to individually litigate their claims against Defendants, so it
 2   would be virtually impossible for the members of the Classes to individually seek redress for
 3   Defendants’ wrongful conduct. Even if class members could afford individual litigation, the
 4   court system could not. Individualized litigation creates a potential for inconsistent or
 5   contradictory judgments, and increases the delay and expense to all parties and the court system.
 6   By contrast, the class action device presents far fewer management difficulties, and provides the
 7   benefits of single adjudication, economy of scale, and comprehensive supervision by a single
 8   court.
 9                                        CLAIMS FOR RELIEF
10
                                               COUNT ONE
11                            Violations of the Stored Communications Act
12                                       18 U.S.C. § 2701, et. seq.
              79.   Plaintiff incorporates by reference all allegations of the preceding paragraphs as
13
     though fully set forth herein.
14
              80.   Plaintiff, individually and on behalf of class members, asserts violations of 18
15
     U.S.C. §§ 2702(a) for Facebook’s unlawful disclosure/divulging of the content of Plaintiff’s and
16
     class members’ communications to third parties, including but not limited to SCL, Cambridge
17
     Analytica, Aleksandr Kogan, and GSR.
18
              81.   The Stored Communications Act (“SCA”) prohibits a person from intentionally
19
     accessing without (or in excess of) authorization a facility through which an electronic
20
     communications service is provided and thereby obtaining an electronic communication while it
21
     is in “electronic storage.” 18 U.S.C. § 2701(a).
22
              82.   The SCA defines “electronic storage” as “any temporary, intermediate storage of
23
     a wire or electronic communication incidental to the electronic transmission thereof; and any
24
     storage of such communication by an electronic communication service for purposes of backup
25
     protection of such communication.”
26
27
     CLASS ACTION COMPLAINT                                                                      20
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 1          83.     The servers Facebook uses to provide its electronic communications service to
 2   Facebook users are a “facility” within the meaning of the SCA.
 3          84.     Defendants are “person[s]” within the meaning of the SCA.
 4          85.     Facebook’s provision of ‘users' personal data with third parties as alleged herein
 5   exceeded any authorization from any party to the personal data at issue.
 6          86.     Because of the architecture of Facebook’s servers, the sharing of personal data
 7   among Facebook users results in and constitutes interstate data transmissions.
 8          87.     The acquisition of Class Members’ personal Facebook data—which constitute
 9   “communications” pursuant to the SCA—by Cambridge Analytica exceeded authorization to the
10   personal data at issue.
11          88.     Because of the architecture of Facebook’s servers, the sharing of personal data
12   among Facebook users results in and constitutes interstate data transmissions.
13          89.     Pursuant to 18 U.S.C. § 2707(c), Plaintiff and class members are entitled to
14   minimum statutory damages of $1,000 per person, punitive damages, costs, and reasonable
15   attorneys’ fees.
16
17                                           COUNT TWO
                         Violations of the California’s Right of Publicity Statute
18
                                          Cal. Civil Code § 3344
19
20          90.     Plaintiff incorporates by reference all allegations of the preceding paragraphs as
21   though fully set forth herein.
22          91.     California Civil Code § 3344 prohibits the use of a person’s name, voice,
23   signature, photograph, or likeness in connection the sale of goods or services without first
24   obtaining that person’s consent.
25          92.     Defendant Facebook violated this section by allowing access to Plaintiff’s and
26   class members’ Personal Information—including names, photographs, and video—as a service to
27
     CLASS ACTION COMPLAINT                                                                   21
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 1   third parties. On information and belief, the use of images, photographs, and names of Plaintiff
 2   and Class Members was integral to the services Facebook offered third party app developers
 3   such as Defendant Cambridge Analytica; third party app developers would not have purchased
 4   services from Facebook (including advertisements) without the Personal Information. Indeed, the
 5   value of the services Facebook offered to third party app developers was derived from the
 6   Personal Information.
 7          93.     Defendant Cambridge Analytica violated this section by using Plaintiff’s and
 8   class members’ Personal Information—including names, photographs, and video—to create and
 9   promote politically targeted advertisements and messaging. Cambridge Analytica could not have
10   targeted Facebook users without the Personal Information, most critically, the names and
11   identities provided by Facebook. Cambridge Analytica likely reviewed Class Members’ images
12   and likenesses, including their photographs, in determining what advertisements and messages to
13   send to which Facebook users.
14          94.     Prior to using Plaintiff’s Personal Information, the Defendants never obtained
15   consent from Plaintiff.
16          95.     Defendants profited from the commercial use of the Plaintiff’s likeness; yet,
17   Plaintiff did not receive any compensation in return for this use.
18          96.     According to California Civil Code § 3344(a), Plaintiff seeks the greater of $750
19   per incident or the actual damages suffered, plus any profits attributable to Defendants’ use of
20   the unauthorized use not calculated in actual damages. Plaintiff also reserves the right to seek
21   punitive damages, costs, and reasonable attorney’s fees as allowed under this statute.
22
                                             COUNT THREE
23
                          Violations of the California Unfair Competition Law
24                               Cal. Bus. & Prof. Code § 17200, et. seq.
25
26
27
     CLASS ACTION COMPLAINT                                                                   22
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 1          97.     Plaintiff incorporates by reference all allegations of the preceding paragraphs as
 2   though fully set forth herein.
 3          98.     Defendants’ conduct as alleged herein constitutes unfair, unlawful, or fraudulent
 4   business acts or practices as proscribed by Section 17200, et seq., of the California Business &
 5   Professions Code (“UCL”).
 6          99.     Defendants’ conduct also constitutes “unlawful” business acts or practices by
 7   virtue of Defendant’s violation of the Stored Communications Act, 18 U.S.C. §§ 2701, et seq.;
 8   Cal. Civ. Code § 3344 and Cal. Pen. Code § 637.7.
 9          100.    Plaintiff and class members reasonably relied on representations from Facebook
10   that third parties could not access personal data absent their consent (including representations in
11   Facebook’s operative terms of service that omitted disclosure of the data that could be acquired,
12   without consent, via the “extended permission” functionality). Similarly, Cambridge Analytica
13   and its affiliates obtained Plaintiff’s and class members’ data through the YDL app, while
14   misrepresenting that the app sought data for academic research purposes. In reality, the YDL
15   app’s sole purpose was to harvest data from the friends of the app’s users without their consent
16   in order to promote political targeted advertisements and messaging. All of the above-described
17   activity constitutes “fraudulent” business acts or practices. Plaintiff and class members have an
18   interest in controlling the disposition and dissemination of their private data, stemming from
19   traditional privacy and autonomy rights.
20          105.    Contrary to Plaintiff’s and class members’ interests, each Defendant exercised
21   control over the content of Plaintiff’s and class members’ personal data, exploiting it for sale and
22   profit without consent. As a result, Defendants’ conduct constitutes “unfair” business acts or
23   practices.
24          106.    Plaintiff and class members have suffered injury in fact and lost money or
25   property due to Defendants’ business acts or practices. In particular, Plaintiff’s and class
26   members’ Personal Information was taken and it is in the possession of those who have used and
27
     CLASS ACTION COMPLAINT                                                                     23
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 1   will use it for their own advantage, including financial advantage, or was and is being sold for
 2   value, making it clear that the Personal Information has tangible value.
 3             107.   Plaintiff and class members seek an order to enjoin Defendants from such
 4   unlawful, unfair, and fraudulent business acts or practices, and to restore to Plaintiff and class
 5   members their interest in money or property that may have been acquired by Defendants by
 6   means of unfair competition.
 7
                                                COUNT FOUR
 8
                                      Invasion of Privacy by Intrusion
 9
10
11             108.   Plaintiff incorporates by reference all allegations of the preceding paragraphs as

12   though fully set forth herein.

13             109.   The California Constitution expressly provides for a right to privacy: “All

14   people are by nature free and independent and have inalienable rights. Among these are

15   enjoying and defending life and liberty, acquiring, possessing, and protecting property, and

16   pursuing and obtaining safety, happiness, and privacy.” Cal. Const., art. 1, § 1 (emphasis

17   added).

18             110.   California common law also recognizes the tort of invasion of privacy.

19             111.   Facebook’s terms of service provide that its users’ Personal Information would

20   not be released to third parties without permission and notice.

21             112.   Plaintiff and class members have an interest in preventing the unauthorized

22   disclosure and/or misuse of their Personal Information and in conducting their personal activities

23   without intrusion or interference, including the right to not to have their Personal Information

24   used by Cambridge Analytica and others for others’ benefit.

25
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     CLASS ACTION COMPLAINT                                                                     24
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 1          113.    Defendants intentionally intruded on Plaintiff’s and class members’ private place,
 2   conversation, matter, seclusion, solitude and relationships and otherwise invaded their right to
 3   privacy without consent and permission.
 4          114.    Defendants’ intrusive conduct was and is highly objectionable to reasonable
 5   persons and constitutes an egregious intrusion on Plaintiff’s and class members’ rights to privacy
 6   and a breach of social norms underlying the privacy right.
 7          115.    As a direct and proximate result of Defendants’ invasion of Plaintiff’s and Class
 8   Members’ privacy, Plaintiff and Class Members suffered injuries, damages, losses or harm,
 9   including but not limited to annoyance, interference, concern, lost time, the loss of personal
10   property, and the need for the cost of effective credit and privacy security, justifying an award of
11   compensatory and punitive damages.
12
                                               COUNT FIVE
13
                                            Unjust Enrichment
14
            116.    Plaintiff incorporates by reference all allegations of the preceding paragraphs as
15
     though fully set forth herein.
16
            117.    As a result of Defendant Facebook allowing third parties to access the Personal
17
     Information of Plaintiff and class members, Defendants improperly obtained and misused the
18
     Personal Information of Plaintiff and Class Members for their own benefit.
19
            118.    Defendants received millions of dollars in revenue from the sale and misuse of
20
     Plaintiff’s and class members’ Personal Information.
21
            119.    This revenue was a benefit conferred upon Defendants by Plaintiff and the
22
     Classes.
23
            120.    Defendants had knowledge of the monetary benefits conferred by Plaintiff and
24
     class members.
25
26
27
     CLASS ACTION COMPLAINT                                                                    25
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 1          121.    Defendants were unjustly enriched by retaining the revenues obtained through
 2   falsehoods, deception, and breach of trust; Plaintiff and each Class member is entitled to recover
 3   the amount by which Defendants were unjustly enriched at their expense.
 4          122.    Accordingly, Plaintiff, on behalf of class members, seek damages against
 5   Defendants in the amounts by which Defendants have been unjustly enriched at Plaintiff’s and
 6   class members’ expense, and such other relief as this Court deems just and proper.
 7
 8
                                                 COUNT SIX
 9
                                              Declaratory Relief
10                                             117 U.S.C. § 2201
11
12          123.    Plaintiff incorporates by reference all allegations of the preceding paragraphs as

13   though fully set forth herein.

14          124.    An actual controversy, over which this Court has jurisdiction, has arisen and now

15   exists between the parties relating to the legal rights and duties of Plaintiff and Defendants for

16   which Plaintiff desires a declaration of rights.

17          125.    Plaintiff contends and Defendants dispute that Defendants, in whole or in part,

18   were authorized by Plaintiff and class members to acquire user data via the “friends permissions”

19   functionality without the express consent, from each developer, of all users whose personal data

20   was thereby acquired.

21          126.    Plaintiff and the Class are entitled to a declaration that Defendants were not so

22   authorized through their contracts with Facebook, and accordingly that Defendants’ behavior

23   violated the Stored Communications Act, the UCL, and Plaintiff’s common law claims.

24
25                                         RELIEF REQUESTED

26
27
     CLASS ACTION COMPLAINT                                                                     26
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             127.    Plaintiff, individually and on behalf of class members, requests that the Court
 1
 2   enter judgment in their favor and against Defendants, as follows:

 3
                     a. Certification of the proposed classes, including designation of Plaintiff as the
 4
                         class representative and appointment of Plaintiff’s counsel as Class Counsel;
 5
                     b. Judgment against Defendants for Plaintiff’s and class members’ asserted
 6
                         causes of action;
 7
                     c. Appropriate declaratory relief against Defendants;
 8
                     d. Preliminary and permanent injunctive relief against Defendants;
 9
                     e. An Order of disgorgement wrongfully obtained profits;
10
                     f. An award to Plaintiff and class members of actual, statutory, and punitive
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                         damages as permitted by applicable laws;
12
                     g. An award of attorneys’ fees and other litigation costs reasonably incurred; and
13
                     h. Any and all relief to which Plaintiff and the Class may be entitled or such
14
                         other relief that the Court deems appropriate.
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                                          DEMAND FOR JURY TRIAL
17
             Plaintiff, on behalf of himself and all others similarly situated, hereby demands a trial by
18
     jury on all the issues so triable.
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20
             Dated: May 1, 2018                            Respectfully submitted,
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22                                                         /s/ Lesley E. Weaver
                                                           Lesley E. Weaver
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24                                                         Lesley E. Weaver (SBN 191305)
                                                           Matthew S. Weiler (SBN 236052)
25                                                         BLEICHMAR FONTI & AULD LLP
                                                           555 12th Street, Suite 1600
26                                                         Oakland, CA 94607

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     CLASS ACTION COMPLAINT                                                                     27
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                                              Tel.: (415) 445-4003
 1                                            Fax: (415) 445-4020
                                              lweaver@bfalaw.com
 2                                            mweiler@bfalaw.com
 3
                                              Local Counsel
 4
                                              Daniel E. Gustafson
 5                                            Daniel C. Hedlund
 6                                            Joseph C. Bourne (SBN 308196)
                                              GUSTAFSON GLUEK PLLC
 7                                            120 South Sixth Street, Suite 2600
                                              Minneapolis, MN 55402
 8                                            Tel: (612) 333-8844
 9                                            Fax: (612) 339-6622
                                              dgustafson@gustafsongluek.com
10                                            dhedlund@gustafsongluek.com
                                              jbourne@gustafsongluek.com
11
12                                            Joseph Goldberg
                                              Vincent J. Ward
13                                            FREEDMAN BOYD HOLLANDER
                                              GOLDBERG URIAS & WARD P.A.
14                                            20 First Plaza, Suite 700
15                                            Albuquerque, NM 87102
                                              Tel: (505) 842-9960
16                                            Fax: (505) 842-0761
                                              jg@fbdlaw.com
17                                            vjw@fbdlaw.com
18
                                              Attorneys for Plaintiff
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     CLASS ACTION COMPLAINT                                                        28
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